                            Juan Lozada-Leoni
Case 4:20-cv-00068-RWS-CMC Document           - May
                                     88-1 Filed     23, 2018 Page 1 of 3 PageID #: 2147
                                                 04/23/20
      Job No. 2923036

   1                   BEFORE THE U.S. DEPARTMENT LABOR
   2     In the Matter of:                      §
                                                §
   3     JUAN LOZADA-LEONI                      §
                                                § Case No. 2018-SOX-00004
   4                        Complainant,        §
                                                §
   5     VS.                                    §
                                                §
   6     MONEYGRAM INTERNATIONAL,               §
                                                §
   7                        Respondent.         §
   8                   -----------------------------------
   9                             ORAL DEPOSITION OF
  10                               JUAN LOZADA-LEONI
  11                                 MAY 23, 2018
  12                                 VOLUME 1 OF 1
  13                   -----------------------------------
  14            ORAL DEPOSITION OF JUAN LOZADA-LEONI, produced as a
  15     witness at the instance of the RESPONDENT, and duly
  16     sworn, was taken in the above-styled and numbered cause
  17     on May 23, 2018, from 9:42 a.m. to 5:33 p.m., before
  18     Delanie Schreiber, CSR No. 9375 in and for the State of
  19     Texas, reported by stenographic method, at the offices
  20     of Ogletree & Deakins, Preston Commons West, 8117
  21     Preston Road, Suite 500, Dallas, Texas, 75225, pursuant
  22     to the Federal Rules of Civil Procedure and the
  23     provisions stated on the record or attached hereto.
  24
  25     Job No. 2923036

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